                   Case 2:07-cr-00248-WBS Document 890 Filed 06/08/11 Page 1 of 7
AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case


                                  United States District Court
                                         Eastern District of California

         UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                                        (For Offenses Committed On or After November 1, 1987)
                             v.                                         Case Number: 2:07CR00248-04


             ERNEST PAUL KILLINGER                                      Michael Bigelow, Appointed
                                                                        Defendant’s Attorney
                 aka “Powder”


THE DEFENDANT:

[]      pleaded guilty to count(s):  .
[]      pleaded nolo contendere to counts(s)     which was accepted by the court.
[U]     was found guilty on count(s) 1, 11, 12 and 50 of the Second Superseding Indictment after a plea of not
        guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                          Date Offense         Count
Title & Section                    Nature of Offense                                      Concluded            Number(s)
See next page.




       The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]      The defendant has been found not guilty on counts(s)                  and is discharged as to such count(s).

[]      Count(s)        (is)(are) dismissed on the motion of the United States.

[U]     First Superseding Indictment is dismissed by District Court upon motion of the United States.

[U]     Appeal rights given.                         []          Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the
court and United States attorney of material changes in economic circumstances.

                                                                 5/25/2011
                                                                 Date of Imposition of Judgment



                                                                 Signature of Judicial Officer


                                                                 WILLIAM B. SHUBB, United States District Judge
                                                                 Name & Title of Judicial Officer

                                                                 June 7, 2011
                                                                 Date
                   Case 2:07-cr-00248-WBS Document 890 Filed 06/08/11 Page 2 of 7
AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case
CASE NUMBER:              2:07CR00248-04                                                          Judgment - Page 2 of 7
DEFENDANT:                ERNEST PAUL KILLINGER ; AKA “POWDER”



                                                                                   Date Offense    Count
Title & Section                    Nature of Offense                               Concluded       Number(s)

21 USC 841(a)(1) and 846           Conspiracy to Distribute and Possess with       6/27/2007       1
                                   Intent to Distribute at Least 50 Grams of
                                   Methamphetamine, at Least 5 Kilograms of
                                   Cocaine, Marijuana, and MDMA (CLASS A
                                   FELONY)
21 USC 843(b)                      Use of a Communication Facility for the         5/21/2007       11
                                   Purpose of Drug Trafficking (CLASS E
                                   FELONY)
21 USC 843(b)                      Use of a Communication Facility for the         5/22/2007       12
                                   Purpose of Drug Trafficking (CLASS E
                                   FELONY)
21 USC 841(a)(1)                   Possession with Intent to Distribute at Least   5/22/2007       50
                                   50 Grams of Methamphetamine (CLASS A
                                   FELONY)
21 USC 851                         Prior Drug Felony
                  Case 2:07-cr-00248-WBS Document 890 Filed 06/08/11 Page 3 of 7
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:             2:07CR00248-04                                                                   Judgment - Page 3 of 7
DEFENDANT:               ERNEST PAUL KILLINGER ; AKA “POWDER”


                                                      IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 440 months as to each of Counts 1 and 50, and 48 months as to each of Counts 11 and 12, with all
such Counts to be served concurrently to each other, for a total term of 440 months.



[]      The court makes the following recommendations to the Bureau of Prisons:



[U]     The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at      on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                            RETURN
I have executed this judgment as follows:




        Defendant delivered on                                         to

at                                                , with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                               By
                                                                                                Deputy U.S. Marshal
                    Case 2:07-cr-00248-WBS Document 890 Filed 06/08/11 Page 4 of 7
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:               2:07CR00248-04                                                                         Judgment - Page 4 of 7
DEFENDANT:                 ERNEST PAUL KILLINGER ; AKA “POWDER”


                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 120 months as to each of Counts 1
and 50, and 12 months as to each of Counts 11 and 12, with all such Counts to be served concurrently to each other, for a
total term of 120 months.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk
         of future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register and comply with the requirements in the federal and state sex offender registration agency
         in the jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the
         defendant resides, is employed, or is a student. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                               STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
      five days of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
      other acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
      confiscation of any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
      enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
      without the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
      defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
      notifications and to confirm the defendant's compliance with such notification requirement.
                     Case 2:07-cr-00248-WBS Document 890 Filed 06/08/11 Page 5 of 7
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:                 2:07CR00248-04                                                                               Judgment - Page 5 of 7
DEFENDANT:                   ERNEST PAUL KILLINGER ; AKA “POWDER”


                                    SPECIAL CONDITIONS OF SUPERVISION

1.    The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or any other
      authorized person under the immediate and personal supervision of the probation officer, based upon reasonable suspicion, without
      a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn any other residents that
      the premises may be subject to searches pursuant to this condition.

2.    The defendant shall provide the probation officer with access to any requested financial information.

3.    The defendant shall not open additional lines of credit without the approval of the probation officer.

4.    As directed by the probation officer, the defendant shall participate in an outpatient correctional treatment program to obtain assistance
      for drug or alcohol abuse.

5.    As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine, sweat patch, etc.) to
      determine if he has reverted to the use of drugs or alcohol.

6.    The defendant shall abstain from the use of alcoholic beverages and shall not frequent those places where alcohol is the chief item
      of sale.

7.    The defendant shall not possess or have access to any paging device or cellular phone without the advance permission of the
      probation officer. The defendant shall provide all billing records for such devices, whether used for business or personal, to the
      probation officer upon request.

8.    As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and shall make
      payment directly to the vendor under contract with the United States Probation Office of up to $25 per month.

9.    The defendant shall register, as required in the jurisdiction in which he resides, as a drug offender.

10.   The defendant shall not associate with any known gang member or possess gang paraphernalia, as directed by the probation officer.
                      Case 2:07-cr-00248-WBS Document 890 Filed 06/08/11 Page 6 of 7
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:07CR00248-04                                                                            Judgment - Page 6 of 7
DEFENDANT:                    ERNEST PAUL KILLINGER ; AKA “POWDER”


                                           CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                       Fine                    Restitution
       Totals:                                         $ 400                        $ Waived                      $


[]     The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO 245C) will
       be entered after such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amount listed
       below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.
       § 3664(i), all nonfederal victims must be paid before the United States is paid.



Name of Payee                                        Total Loss*                Restitution Ordered      Priority or Percentage


       TOTALS:                                           $                             $




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid
       in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
       options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                [ ] fine              [ ] restitution

       [ ] The interest requirement for the                  [ ] fine [ ] restitution is modified as follows:




[U] If incarcerated, payment of the special assessment is due during imprisonment at the rate of not less than $25 per
    quarter
    and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]     If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.


  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18
for offenses committed on or after September 13, 1994, but before April 23, 1996.
                     Case 2:07-cr-00248-WBS Document 890 Filed 06/08/11 Page 7 of 7
AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:07CR00248-04                                                                    Judgment - Page 7 of 7
DEFENDANT:                   ERNEST PAUL KILLINGER ; AKA “POWDER”

                                                  SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $                 due immediately, balance due

         []        not later than   , or
         []        in accordance with            [ ] C,   [ ] D,   [ ] E, or   [ ] F below; or

B    [U]           Payment to begin immediately (may be combined with [ ] C,                     [ ] D, or [ ] F below); or

C    [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $    over a period of               (e.g., months
         or years), to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $    over a period of   (e.g., months
         or years), to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within  (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay
         at that time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
